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 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,        )     1:07-CR-00192-AWI
                                      )
12              Plaintiff,            )     APPLICATION FOR ORDER REGARDING
                                      )     CRIMINAL FORFEITURE OF PROPERTY
13        v.                          )     IN GOVERNMENT CUSTODY - 18 U.S.C.
                                      )     § 983(a)(3)(B)(ii)(II)
14   DAVID CHAVEZ SR.,                )
     DAVID CHAVEZ JR.,                )
15   JOHN WAYNE WYATT,                )
     ISRAEL CAVAZOS                   )
16   JOHN RICHARD SHANKS,             )
     JONATHAN M. CHAPMAN,             )
17   TIMOTHY DOOLITTLE, AND           )
     JENNIFER DIANE BROWN,            )
18                                    )
                Defendants.           )
19                                    )

20        The United States of America, through its counsel, hereby moves

21   for an order allowing the Government to maintain custody of property

22   already in the Government’s possession pending the resolution of a

23   criminal forfeiture matter.          The grounds for the motion are as

24   follows:

25        On or about April 24, 2007, Magistrate Judge Theresa A. Goldner

26   issued civil seizure warrants pursuant to 18 U.S.C. §§ 981(a), 984

27   and 21 U.S.C. § 881(a)(6) based on probable cause for the following

28   funds in two bank accounts.          On May 1, 2007, agents of the Drug

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 1   Enforcement Administration ("DEA") seized the following assets for

 2   the purpose of initiating civil forfeiture proceedings:

 3         a.     Approximately $1,942.26 in U.S. Currency seized from Bank
                  of the Sierra Account Number 2401663280 held in the name
 4                of David Chavez, Jr.; and,

 5         b.     Approximately $22,598.63 in U.S. Currency seized from Bank
                  of America Account Number 25562-44679 held in the name of
 6                NMC, Inc.

 7         On or about May 1, 2007, during the execution of federal search

 8   warrants, agents seized the following:

 9         c.     Approximately $7,112.00 in U.S. Currency seized at 229
                  Montalvo Drive, Bakersfield, California; and
10
           d.     Approximately $26,074.63 in U.S. Currency seized at 323
11                Roberts Lane, Bakersfield, California.

12         Hereinafter, the above-referenced assets (a-d) are collectively

13   referred to as the “seized assets.”

14         In accordance with 18 U.S.C. § 983(a)(1), the DEA sent notice

15   to defendants David Chavez, Sr. and David Chavez, Jr., Sonia Ann

16   Chavez, and Nature’s Medicinal Cooperative, Inc. of its intent to

17   forfeit the seized assets in a non-judicial forfeiture proceeding,

18   and caused that notice to be published in a newspaper of general

19   circulation.

20         On or about June 15, 2007, defendant David Chavez, Jr., as

21   Authorized Agent for Nature’s Medicinal Cooperative, Inc., filed a

22   claim with DEA contesting the administrative forfeiture of assets b

23   and d above pursuant to 18 U.S.C. § 983(a)(2).        On or about July 2,

24   2007, defendant David Chavez, Jr., as Authorized Agent for Nature’s

25   Medicinal Cooperative, Inc., filed a claim with DEA contesting the

26   administrative forfeiture of asset c above pursuant to 18 U.S.C. §

27   983(a)(2).     No claim has been received regarding asset a above.

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 1        Pursuant to 18 U.S.C. § 983(a)(3), the United States has 90

 2   days in which to 1) return the property to the defendant, 2)

 3   commence a civil judicial forfeiture action, or 3) commence a

 4   criminal forfeiture action by including the seized assets in a

 5   criminal indictment.     On July 26, 2007, the Government elected the

 6   third option when it filed an Indictment containing a forfeiture

 7   allegation concerning the seized assets.             That Indictment is now

 8   pending in this Court.

 9        Title 18 U.S.C. § 983(a)(3)(B)(ii)(II) provides that when the

10   Government    elects   the    third   option,   it   must   “take   the   steps

11   necessary to preserve its right to maintain custody of the property

12   as provided in the applicable criminal forfeiture statute.”                 The

13   applicable forfeiture statutes in this case are 21 U.S.C. § 853 and

14   18 U.S.C. § 982.       Title 18 U.S.C. § 982(b)(1) incorporates the

15   forfeiture procedures set forth in 21 U.S.C. § 853.             That statute

16   prescribes several methods for preserving property for the purpose

17   of criminal forfeiture.

18        Section § 853(f) authorizes the issuance of a criminal seizure

19   warrant.     However, in cases like this one, where the property in

20   question is already in Government custody, it is not appropriate for

21   a court to issue a seizure warrant directing the Government to seize

22   property from itself.        In turn, Section 853(e) authorizes the court

23   to issue a restraining order or an injunction to preserve the

24   property for forfeiture.        However, that provision is not pertinent

25   because there is no need to enjoin the Government from disposing of

26   property that the Government has taken into its custody for the

27   purpose of forfeiture, and that the Government intends to preserve

28   for that purpose through the conclusion of the pending criminal

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 1   case.

 2           Finally, Section 853(e)(1) also authorizes a court to “take any

 3   other action to preserve the availability of property” subject to

 4   forfeiture.     The Government contends that this provision applies in

 5   circumstances where, as here, the Government has already obtained

 6   lawful custody of the seized assets pursuant to federal seizure and

 7   search warrants, and the Government seeks to comply with Section

 8   983(a)(3)(B)(ii)(II).       Thus, all that is required to comply with

 9   Section 983(a)(3)(B)(ii)(II) is an order from this Court stating

10   that the United States and its agencies, including DEA and/or the

11   U.S. Marshals Service, may continue to maintain custody of the

12   seized assets until the criminal case is concluded.

13           Accordingly, pursuant to Section 853(e)(1), the United States

14   respectfully moves this court to issue an order directing that the

15   United States may maintain custody of the seized assets through the

16   conclusion of the pending criminal case, and stating that such order

17   satisfies the requirements of 18 U.S.C. § 983(a)(3)(B)(ii)(II).

18   Dated:     August 8, 2007         McGREGOR W. SCOTT
                                       United States Attorney
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20
                                       /s/ Stephanie Hamilton Borchers for
21                                     KATHLEEN A. SERVATIUS
                                       Assistant U.S. Attorney
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 1                                      ORDER

 2        This matter comes before the Court on the motion of the United

 3   States for an Order authorizing the Government and its agencies to

 4   maintain custody of certain property pending the conclusion of the

 5   pending criminal case. For the reasons provided in the Government’s

 6   motion, the Court makes the following orders:

 7        IT IS HEREBY ORDERED, that the United States and its agencies,

 8   including the DEA and/or the U.S. Marshals Service, are authorized

 9   to maintain and preserve the following assets until the conclusion

10   of the instant criminal case, or pending further Order of this

11   Court:

12        a.      Approximately $1,942.26 in U.S. Currency seized on May 1,
                  2007 from Bank of the Sierra Account Number 2401663280
13                held in the name of David Chavez, Jr.;

14        b.      Approximately $22,598.63 in U.S. Currency seized on May 1,
                  2007 from Bank of America Account Number 25562-44679 held
15                in the name of NMC, Inc.;

16        c.      Approximately $7,112.00 in U.S. Currency seized at 229
                  Montalvo Drive, Bakersfield, California; and
17
          d.      Approximately $26,074.63 in U.S. Currency seized at 323
18                Roberts Lane, Bakersfield, California.

19
     IT IS SO ORDERED.
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     Dated:    August 8, 2007                /s/ Anthony W. Ishii
21   0m8i78                            UNITED STATES DISTRICT JUDGE

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